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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    YELLOW CORPORATION, et al.,1                                    Case No. 23-11069 (CTG)

                                      Debtors.                      (Jointly Administered)

                                                                    Related D.I.: 998, 981

DECLARATION OF AGENT IN SUPPORT OF DEBTORS’ MOTION FOR AN ORDER
 AUTHORIZING PARTIES, INCLUDING THE DEBTOR’S EXCLUSIVE BROKER
 AND AUCTIONEER OF ROLLING STOCK ASSETS, TO FILE UNDER SEAL THE
   NAMES OF CERTAIN CONFIDENTIAL PARTIES IN CONNECTION WITH
                THE ROLLING STOCK SALE PROCESS

Each of the undersigned declares under penalty of perjury:

             1.    Jim Burke is the Executive Vice President of Nations Capital, LLC, and

Jake Lawson is the President - North America Sales of Richie Bros. Auctioneers (America) Inc.,

IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd., and IronPlanet Canada Ltd.

(collectively, the “Agent”). Together we have nearly forty years of collective experience selling

commercial, industrial and rolling stock assets and have organized and overseen thousands of

auctions of such assets.

             2.    On October 30, 2023, the Debtors2 filed the Debtors’ Motion for Entry of an Order

Authorizing Parties, Including the Debtors’ Exclusive Broker and Auctioneer of Rolling Stock

Assets, to File Under Seal the Names of Certain Confidential Parties in Interest in Connection

with the Rolling Stock Sale Process [Dkt. No. 998] (the “Motion to Seal”), which seeks authority


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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
      of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
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      Capitalized terms used but not defined herein shall be defined as set forth in the Motion to Seal.


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for parties, including the Agent and the Debtors, to redact and file under seal the names and

identities of the Confidential Parties for the reasons described therein. We submit this declaration

(the “Declaration”) in support of the Motion to Seal.

        3.       In order to protect the Agent’s commercially sensitive, trade secret and proprietary

information, while providing the necessary disclosures required under the Bankruptcy Code and

the Bankruptcy Rules, the Agent disclosed in the Agent Declarations and the accompanying

Schedules (without disclosing the names and identities of such entities) its relationships with the

Confidential Parties, some of whom are or may become potential bidders and potential sale

counterparties in the Rolling Stock Assets sale process being conducted by the Agent in these

chapter 11 cases.

        4.       The Debtors are engaged in an active and ongoing marketing process among

numerous potential transaction counterparties, including certain of the Confidential Parties, for the

sale of the Debtors’ extensive portfolio of assets, including a marketing and sale process conducted

by the Agent, on the Debtors’ behalf, for the Rolling Stock Assets. The Agent is serving as the

Debtors’ exclusive marketer, broker, and auctioneer for the Rolling Stock Assets. The Rolling

Stock Assets comprise over sixty thousand truck tractors, trailers and related rolling stock assets

and represent significant estate value.

        5.       Due to the inherently competitive nature of the Agent’s marketing, bidding, and

sale process for the Rolling Stock Assets—as well as the significant value of the Rolling Stock

Assets and the fact that the potential counterparties’ identities are required by NDA (or other

confidentiality obligations of the Agent) to be kept private—we believe that revealing the identities

of the Confidential Parties could breach or otherwise be in breach of the Agent’s obligations of

privacy.


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        6.       Based on our experience, we believe that disclosure of the bidders or potential

bidders could chill or otherwise negatively affect the marketing and bidding process for the Rolling

Stock Assets. First, disclosure of the Confidential Parties’ identities could cause Confidential

Parties either to withdraw from ongoing negotiations and interest regarding Rolling Stock Assets

or to choose not to participate in the Rolling Stock Assets sale process altogether.

Second, publicizing the names and identities of the Confidential Parties, in breach of existing

confidentiality agreements, privacy policies or arrangements, could jeopardize the Agent’s

commercial relationships to the detriment of both the Rolling Stock Sale process (and potentially

the Debtors’ recovery) and potential future dealings between the Agent and Confidential Parties

who have a legal and commercial expectation of privacy. Third, to maximize value of the sale

proceeds of the Rolling Stock Assets, bidder names should be kept confidential to foreclose the

possibility of Confidential Parties discussing bidding strategy and approach. In sum, we believe

that disclosing the names and the identities of the Confidential Parties could be detrimental to

competitive bidding, the values to be obtained for the Rolling Stock Assets and, ultimately, creditor

recoveries.

        7.       The identities of the Confidential Parties have been redacted from the Schedules—

and we believe they should remain redacted—because the confidentiality agreements between the

Agent and certain of those parties require that such parties’ identities remain confidential. Further,

the Agent’s potential counterparties contained in the Confidential Parties’ lists in the Schedules

(i.e., entities with whom the Agent has historical business dealings and who may have interest in

the Rolling Stock Assets but have not yet entered into a non-disclosure agreement) have not

consented to the Agent’s disclosure of their identities.         Historically and typically, these

counterparties, in their dealings with the Agent, expect the Agent to keep private their involvement


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in such transactions. We believe that public disclosure of such parties’ identities could discourage

such parties from participating in the Rolling Stock Assets sale process and compromise the

Agent’s business relationships with these entities in this process and in future dealings with us.

        8.       We believe that, in order to best maximize value of the Rolling Stock Assets,

potential bidders of the Rolling Stock Assets should not have access to the names and identities of

other potential bidders. Such disclosure of names and identities could cause industry peers,

however unlikely, to discuss individual approaches and strategies regarding bidding on the Rolling

Stock Assets, to the detriment of purely competitive bidding. Out of an abundance of caution, we

believe that the names and identities of the Confidential Parties should be and remain confidential

to preserve the anonymity and competitiveness of the Rolling Stock Assets sale process.

        9.       Importantly, as noted in the Agent Declarations, the Agent has not represented and

will not represent the Confidential Parties in connection with any matter in these chapter 11 cases

or which bears in any way on the Debtors or the Rolling Stock Assets sale process. Should any

representation or conflict arise in the future that may bear on the Agent’s disinterestedness with

respect to the foregoing, the Agent will promptly notify the Debtors (and the Debtors to the

Consultation Parties) and the U.S. Trustee by supplemental declaration attesting to the same.




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        Pursuant to 28 U.S.C. § 1746, each of the undersigned declares under penalty of perjury

that the foregoing is true and correct.



Date: October 31, 2023
RITCHIE BROS. AUCTIONEERS (AMERICA) INC.
IRONPLANET, INC.
RITCHIE BROS. AUCTIONEERS (CANADA) LTD.
IRONPLANET CANADA, LTD.


/s/ Jake Lawson                      .




By: Jake Lawson
Title: Authorized Signatory




Date: October 31, 2023

NATIONS CAPITAL, LLC

/s/ Jim Burke                    .




By: Jim Burke
Title: Authorized Signatory




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